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PS 8                                                                             Filed by the
(Rev 5/10)                                                                       Clerk
                          UNITED STATES DISTRICT COURT
                                          for
                                District of Minnesota

U.S.A. vs. Hanna Marekegn                               Docket No. 0864 0:22CR00236-001(NEB)
                         Petition for Action on Conditions of Pretrial Release

        COMES NOW Houa Vang, U.S. PROBATION OFFICER OF THE COURT, presenting
an official report regarding Hanna Marekegn (Marekegn herein) who was placed under pretrial
supervision by the Honorable Nancy E. Brasel, sitting in the Court at Minneapolis on the 13th
day of October, 2022, under the following special conditions:

       x     Pretrial Services Supervision
       x     Surrender Passport (Satisfied)
       x     Obtain No New Passport
       x     Travel Restrictions
       x     No Contact with Victim / Witness / Codefendants
       x     Weapons Restriction
       x     Report Contact with Law Enforcement
       x     Other Financial Obligations
       x     Employment Requirements / Restrictions
       x     No Unapproved Credit Card Charges / Lines of Credit
       x     Financial Disclosures
       x     No Access to Federal Child Nutrition Program Funds

Marekegn is pending sentencing for Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C.
§ 371.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

Marekegn plans to permanently relocate to Orlando, Florida. Consequently, she will be
supervised by the U.S. Pretrial Services Office in Orlando.
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Petition for Action on Conditions of Pretrial Release        RE: Hanna Marekegn
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PRAYING THAT THE COURT WILL ORDER that the following travel restriction condition be
modified to the following:

   x   Travel shall be restricted to Minnesota (court purposes only) and Florida, unless
       approved by the supervising officer.


         ORDER OF THE COURT                       I declare under penalty of perjury that
                                                  the foregoing is true and correct.
                               2nd
Considered and ordered this __________  day
        August
of __________________, 2023, and ordered          s/ Houa Vang
filed and made a part of the records in the
above case.                                       Houa Vang
                                                  Senior U.S. Probation Officer
 s/Nancy E. Brasel                                612-508-8362
Nancy E. Brasel                                   Executed on    August 2, 2023
U.S. District Judge
                                                  Place          St. Paul

                                                  Approved:

                                                  s/   Maribel Andrade-Vera
                                                  Maribel Andrade-Vera
                                                  Supervising U.S. Probation Officer
